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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                     EUGENE DIVISION


UNITED STATES OF AMERICA                            6:20-cr-405-AA

              v.                                     INFORMATION

ANTHONI JOSEPH BASSETTI,                            21 U.S.C. §§ 841(a)(1) and (b)(1)

              Defendant.                            (B) Forfeiture Allegation



                        THE UNITED STATES ATTORNEY CHARGES:

                                          COUNT 1
                             (Distribution of Methamphetamine)
                              (21 U.S.C. §§ 841(a)(1), (b)(1)(B))

       On or about January 23, 2020, in the District of Oregon, defendant ANTHONI JOSEPH

BASSETTI did knowingly distribute 5 grams or more of methamphetamine, a Schedule II

controlled substance;

       In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

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                             FIRST FORFEITURE ALLEGATION

       Upon conviction of the offense in Count 1, defendant shall forfeit to the United States,

pursuant to 21 U.S.C. § 853, any property constituting, or derived from, proceeds obtained,

directly or indirectly, as a result of the aforesaid violation and any property used, or intended to

be used, in any manner or part, to commit, or to facilitate the commission of said violation.

       Dated: August 27, 2020

                                                       Respectfully submitted,

                                                       BILLY J. WILLIAMS
                                                       United States Attorney


                                                       s/ William M. McLaren
                                                       WILLIAM M. MCLAREN, OSB#143836
                                                       Assistant United States Attorney




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